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January 27, 2014

VIA ELECTRONIC CASE FILING SYSTEM

Hon. Sidney H. Stein
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007
Telephone: (212) 805-0192

      Re:   In re Oxycontin Antitrust Litigation, Case No. 04-md-1603-
            SHS (relating to Case No. 12-cv-2959-SHS (S.D.N.Y.))

Dear Judge Stein:

       This firm, along with Alston & Bird LLP, represent Defendants Mylan
Pharmaceuticals Inc. and Mylan Inc. (collectively, “Mylan”) in the above-
referenced action. We write in connection with Plaintiffs’ Response to Order to
Show Cause submitted on January 24, 2014 (No. 04-md-1063-SHS, ECF No.
638) (“Response”) and the Court’s letter Order of January 14, 2014 (No. 04-md-
1063-SHS, ECF No. 636) (the “Noramco discovery Order”), in which it granted
Mylan’s request to extend the fact discovery deadline to complete discovery of
third-party Noramco, Inc., in the above-referenced matters.

      In its Response, Plaintiffs do not (nor could they in Mylan’s view) dispute
that they are collaterally estopped from pursuing relief in the matter pending
against Mylan (No. 12-cv-2959-SHS) based on the Court’s invalidity ruling in
the related Purdue Pharma L.P. et al. v. Teva Pharmaceuticals, USA, Inc. matter.
As such, Mylan respectfully requests that the Court immediately enter final
judgment on collateral estoppel grounds in favor of Mylan in that matter.

      Assuming entry of such judgment, it is Mylan’s position that any need for
additional discovery of third-party Noramco, Inc. as permitted by the Court in
its Noramco discovery Order is no longer necessary at this time. However, if
judgment is not immediately entered or if for any reason the District Court
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proceedings against Mylan are not fully resolved, including in view of any
remand, Mylan may require further discovery from Noramco. As such, Mylan
does not oppose Purdue’s request to vacate the Noramco discovery Order
pending resolution of any appeal (see Response at 1), assuming judgment is
entered as to Mylan and such vacatur is without prejudice to Mylan’s ability to
further pursue such discovery if the District Court proceedings against Mylan
resume for any reason.

     We thank the Court for its consideration in this matter. If the Court has
any questions, we would be pleased to respond at the Court’s convenience.

Very truly yours,
RAKOCZY MOLINO MAZZOCHI SIWIK LLP
      s/Amy D. Brody
Amy D. Brody
cc: All counsel of record (via E-mail)
 
